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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


 ARBUTUS BIOPHARMA CORPORATION                         :
 and GENEVANT SCIENCES GMBH,                           :
                                                       :       CIVIL ACTION
                               Plaintiffs,             :
                                                       :
               v.                                      :
                                                       :       NO. 22-252
 MODERNA, INC. and MODERNATX, INC.,                    :
                                                       :
                               Defendants.             :

                                               ORDER

        AND NOW, this 25th day of June, after several discovery and scheduling conferences, it is

 hereby ORDERED that:

        1.     On or before July 11, 2025, Plaintiffs shall produce:

               a.      All images of samples of Moderna’s COVID-19 vaccine upon receipt by

        Coriolis;

               b.      All documents relating to, including any methods and results of, sample

        testing of which Dr. Schuster or Coriolis is aware, which relates to this litigation, including

        the method development, proof of concept, and feasibility testing conducted by Coriolis;

               c.      All images of samples pre- and post-centrifugation;

               d.      All “dockets’ in which the work underlying the testing set forth in Dr.

        Shuster’s report was recorded by Coriolis personnel; and

               e.      The two PowerPoints discussed during Dr. Schuster’s deposition, with

        redactions for purported privilege as long as their redactions are not made to test results, test

        data, or descriptions of test methods/parameters, with a privilege log to follow in 24 hours.

        2.     Plaintiffs shall make Dr. Schuster available for an additional two-hour deposition

 regarding the above-mentioned discovery.
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          3.    Plaintiffs may file a sur-reply report responding only to information learned as a

 result of the above-mentioned discovery.

          4.    The parties shall not file cross motions on the issues of indefiniteness and § 1498

 liability. If they wish to raise these issues, they shall follow a four-brief schedule whereby the party

 with the burden of proof files the opening brief. If the opening brief is not filed, the party without

 the burden of proof may file its motion during the response deadline.

          5.    Any party that files for summary judgment must also submit a separate statement of

 undisputed material facts in a numbered, paragraph-by-paragraph recitation that contains specific

 citations to exhibits or testimony supporting each factual assertion. Any response or opposition to a

 summary judgment motion must be accompanied by a responsive statement of facts. The responsive

 statement of facts must include (a) the responding party’s response to each factual assertion, which

 shall be directly under the original paragraph and must include citation to any evidence that the

 responding party contends creates a material factual dispute and/or any argument for why the

 evidence that the moving party has cited does not support the factual assertion or is not admissible;

 and (b) any additional facts that the responding party intends to submit as part of the summary

 judgment briefing. The moving party may, but need not, submit with its reply brief a response to the

 respondent’s responsive statement of facts. The moving party’s response must provide the response

 directly under the relevant paragraph. The result of this process will be a single, consolidated

 statement of facts that permits the Court to see each party’s position on each factual assertion in one

 place.

          6.    In the event that any party contends that the Court should not consider expert

 evidence in resolving a summary judgment motion because the evidence is not admissible under

 Federal Rule of Evidence 702, the party making such an argument must file a separate,
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 contemporaneous motion to exclude the evidence, rather than including the argument in its summary

 judgment briefs.

          7.       The following deadlines 1 are set:

               Opening motions for summary judgment                  July 25, 2025
               (35 pages)
               Oppositions/responses to summary                      August 22, 2025
               judgment (35 pages)
               Replies regarding summary judgment (if                September 5, 2025
               necessary) (20 pages)
               Sur-replies on the issues of indefiniteness           September 19, 2025
               and § 1498 liability (if necessary) (10
               pages)
               Daubert motions                                       November 7, 2025

               Oppositions to Daubert motions                        November 21, 2025

               Replies in support of Daubert motions (if             December 5, 2025
               necessary)
               Proposed pretrial orders, jury instructions,          January 23, 2026
               voir dire, special verdict forms, and
               motions in limine
               Pretrial Conference                                   March 2, 2026

               Trial 2                                               March 9, 2026



                                                       BY THE COURT:

                                                       /s/ Mitchell S. Goldberg
                                                       MITCHELL S. GOLDBERG, J.




 1
   The Parties shall combine all summary judgment briefings into a single brief per party for each respective deadline,
 for a total of two opening briefs, two opposition briefs, and, if necessary, two reply briefs and two sur-reply briefs.
 2
   I have considered both parties numerous arguments regarding the trial date and have concluded that a three-
 month difference between dates (December 1, 2025 vs. March 9, 2025) is inconsequential.
